                     Case 6:06-cr-00026-JRH-CLR Document 837 Filed 07/28/08 Page 1 of 1
     AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                               Southern District of Georgia           L3 JU_ 2            1J 10 :   c
                                                                  Statesboro Division
                       United States of America                            )
                                  v.                                       )
                            Stephame Colims                                ) Case No: CR606-00026-002
                                                                           ) USMNo: 12964-021
Date of Previous Judgment: January 8, 2008                                 ) G. Brinson Williams, Jr.
(Use Date of Last Amended Judgment if Applicable)                         ) Defendant's Attorney

                       Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons Ljthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
                DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                                the last judgment issued) of           months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Oftense Level:                      36                             Amended Offense Level:     36
Criminal History Category:                    I                             Criminal History Category:
Previous Guideline Range:                 188 to 235 months                 Amended Guideline Range: 188 to 235 months
II. SENTENCE RELATIVE TO AMENDED GUiDELINE RANGE
  The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
flOther (explain):




III. ADDITIONAL COMMENTS

The defendant is not eligible for a reduction in Sentence because her offense level was determined solely on
quantities of cocaine hydrochloride and not cocaine base.


Except as provided above, all provisions of the judgment dated
IT IS SO ORDERED.

Order Date



Effective Date:
                              cSQO
                                                                              I
                                                                            B. Avant Edenfield
                                                                            United States District Judge
                                                                                                         shall remain in effect.



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                                                                            For the Southern District of Georgia
                       (if difThrent from order date)                                          Printed name and title
